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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                  §
                                                        §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                              §      Chapter 11 (Subchapter V)
                                                        §
         Debtor.                                        §

In re:                                                  §
                                                        §
ALEXANDER E. JONES,                                     §      Case No. 22-33553
                                                        §      Chapter 11
         Debtor.                                        §


                                      NOTICE OF HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      A hearing (the “Hearing”) is set for May 19, 2023, at 10:00 a.m. (prevailing
Central Time) before the Honorable Christopher M. Lopez, United States Bankruptcy Judge, at
the United States Bankruptcy Court for the Southern District of Texas, Courtroom 401, 515 Rusk,
Houston, TX 77002 (the “Court”), to consider the following matters in the above styled and
numbered chapter11 cases:

         STATUS CONFERENCE;
         and
         DEBTORS’ NOTICE OF AGREEMENT ON ALLOCATION OF FUTURE
         WEBSITE CRYPTO DONATIONS

        2.     Parties may attend the Hearing in person or electronically. Audio communication
will be by use of the Court’s dial-in facility. You may access the facility at (832) 917-1510. Once
connected, you will be asked to enter the conference room number. Judge Lopez’s conference
room number is 590153. Video communication will be by use of the GOTOMEETING platform.
Connect via the free GoToMeeting application or click the link on Judge Lopez’s homepage. The
meeting code is “JUDGELOPEZ”. Click the settings icon in the upper right corner and enter your
name under the personal information setting.
        3.     Parties are encouraged to review the Court’s procedures for telephonic appearances
located on the Court’s website at: https://www.txs.uscourts.gov/content/united-states-bankruptcy-
judge-christopher m lopez
        4.      The Court has invoked the protocol outlined in General Order 2020-4, as invoked
by General Orders 2010 and 2020-10a and extended by General Order 2020-11. These orders may
be found at: https://www.txs.uscourts.gov/bankruptcy/genord Therefore, all persons may appear
electronically via audio and video at the Hearing using the Court’s electronic conference systems.
         6.       If any party wishes to offer exhibits, these exhibits should be filed with the Clerk
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of the Court using the Court’s CM/ECF system. Each exhibit should be filed as a separate
attachment to an Exhibit List in compliance with Bankruptcy Local Rule 9013 and General Order
2020-04.
       7.      Witnesses presented by the Debtor may appear in person or via audio and video
connection. Any person wishing to examine the witness will be permitted to do so during the
hearing via audio and/or video, subject to approval of the Court.
         Respectfully submitted May 8, 2023.

 CROWE & DUNLEVY, P.C.                               LAW OFFICES OF RAY
                                                     BATTAGLIA, PLLC
 By: /s/ Vickie Driver___
 Vickie L. Driver                                    /s/_ Raymond W. Battaglia
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 ATTORNEYS FOR DEBTOR ALEXANDER
 E. JONES


                                 CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing document was served by the
 Court’s CM/ECF system on all parties registered to receive such service on the date of filing.

                                               /s/Raymond W. Battaglia
                                               Raymond W. Battaglia

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